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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               EASTERN DIVISION

DERYKE M. PFEIFER, SR.,                        )
                                               )
     Plaintiff,                                )
                                               )
     v.                                        )   CIVIL ACT. NO. 3:20-cv-282-ECM
                                               )               (WO)
JUDGE STUART K. SMITH, et al.,                 )
                                               )
     Defendants.                               )

                               OPINION and ORDER

      On August 17, 2020, the Magistrate Judge entered a Recommendation (doc. 9)

to which no timely objections have been filed. After an independent review of the file

and upon consideration of the Recommendation, it is

      ORDERED that the Recommendation of the Magistrate Judge is ADOPTED,

and this case is DISMISSED for lack of subject matter jurisdiction.

     A separate Final Judgment will be entered.

     Done this 29th day of September, 2020.


                                       /s/ Emily C. Marks
                                 EMILY C. MARKS
                                 CHIEF UNITED STATES DISTRICT JUDGE
